               Case 2:22-cv-00204-RAJ Document 19 Filed 03/04/22 Page 1 of 2



                                                               The Honorable Richard A. Jones
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 4
                             IN THE UNITED STATES DISTRICT COURT
 5                             WESTERN DISTRICT OF WASHINGTON
                                         AT SEATTLE
 6

 7      JANE SULLIVAN and P. POES 1-75,               Case No. 2:22-cv-00204-RAJ
        individually and on behalf of others
 8      similarly situated,
                              Plaintiffs,             ORDER GRANTING PEOPLE FOR
 9
                                                      THE ETHICAL TREATMENT OF
10                      v.                            ANIMALS, INC.’S UNOPPOSED
                                                      MOTION TO INTERVENE AS
11      THE UNIVERSITY OF
        WASHINGTON, a Washington public               DEFENDANT
12      corporation; ELIZA SAUNDERS,
        Director of Public Records and Open
13      Public Meetings at the University of
        Washington, in their official capacity,
14
                              Defendants,
15
                        and
16
        PEOPLE FOR THE ETHICAL
17      TREATMENT OF ANIMALS, INC., a
        Virginia nonstock corporation,
18
                   \Intervenor-Defendant.
19

20           This matter came before the Court on an unopposed motion by People for the

21    Ethical Treatment of Animals, Inc. (“PETA”) to intervene in this case as a defendant

22    pursuant to Fed. R. Civ. P. 24.

23           The Court, having considered PETA’s motion, the materials filed in support

24    thereof, and the pleadings and papers of record in this matter, hereby FINDS that the

25    requirements for PETA’s intervention under Rule 24 are satisfied.

26           The Court therefore ORDERS:

27           1. that PETA’s motion to intervene is GRANTED; and

                                                                         ANGELI LAW GROUP LLC
     ORDER GRANTING PEOPLE FOR THE ETHICAL
                                                                     121 S.W. Morrison Street, Suite 400
     TREATMENT OF ANIMALS, INC.’S UNOPPOSED                                     Portland, Oregon 97204
     MOTION TO INTERVENE AS DEFENDANT - 1                                   Telephone: (503) 954-2232
                                                                              Facsimile: (503) 227-0880
              Case 2:22-cv-00204-RAJ Document 19 Filed 03/04/22 Page 2 of 2




 1          2. that PETA shall hereafter be considered a defendant in this case.
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 3          DATED this 4th day of March, 2022.
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 7
                                              A
                                              The Honorable Richard A. Jones
 8
                                              United States District Judge
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                                                                        ANGELI LAW GROUP LLC
     ORDER GRANTING PEOPLE FOR THE ETHICAL
                                                                    121 S.W. Morrison Street, Suite 400
     TREATMENT OF ANIMALS, INC.’S UNOPPOSED                                    Portland, Oregon 97204
     MOTION TO INTERVENE AS DEFENDANT - 2                                  Telephone: (503) 954-2232
                                                                             Facsimile: (503) 227-0880
